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      VIA ECF

      Hon. Brian R. Martinotti, U.S.D.J.
      United States District Court, District of New Jersey
      Frank Lautenberg Post Office & U.S. Courthouse
      2 Federal Plaza, 3rd Floor
      Newark, New Jersey 07102

      Re: In Re: Insulin Pricing Litigation, Case No. 2:23-md-3080-(BRM/RLS)

      Dear Judge Martinotti:

              Plaintiffs respectfully request leave to file the attached reply letter in support of their
      request for leave to file a motion to consolidate and for appointment of leadership, as set forth in
      ECF No. 195. The attached reply is necessary to respond to inaccuracies and mischaracterizations,
      as well as inappropriate legal argument, in Defendants’ June 12, 2024 response (ECF No. 210).
      Plaintiffs respectfully submit that the attached letter will aid the Court’s resolution of the requested
      relief.

                                                      Respectfully submitted,

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